                                               United States Bankruptcy Court
                                                  District of New Mexico
In re:                                                                                                     Case No. 18-13027-t
Roman Catholic Church of the Archdiocese                                                                   Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1084-1                  User: jrbaca                       Page 1 of 2                          Date Rcvd: Mar 19, 2019
                                      Form ID: pdfor1                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 21, 2019.
               +Ilan D. Scharf, Esq.,   Pulchulski STang Ziehl & Jones LLP,
                 10100 Santa Monica Blvd. 13th Floor,   Los Angeles, CA 90067-4003

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 21, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 19, 2019 at the address(es) listed below:
              Alice Nystel Page    on behalf of U.S. Trustee    United States Trustee Alice.N.Page@usdoj.gov
              Alicia C. Lopez    on behalf of Creditor    John Doe #1, 2, 4, 5, 6 alopez@rothsteinlaw.com,
               melopez@rothsteinlaw.com;psanchez@rothsteinlaw.com;nrivera@rothsteinlaw.com;dchalan@rothsteinlaw.
               com;ldelgado@rothsteinlaw.com;bjtrujillo@rothsteinlaw.com
              Andrew Berne Indahl    on behalf of Plaintiff Thomas Paickattu andy@alturalawfirm.com
              Andrew Berne Indahl    on behalf of Creditor Thomas Paickattu andy@alturalawfirm.com
              Annie Coogan     on behalf of Creditor Rudy Blea annie@cooganlawnm.com
              Bruce Anderson     on behalf of Debtor    Roman Catholic Church of the Archdiocese of Santa Fe
               baafiling@eaidaho.com, brucea@eaidaho.com
              Caroline Manierre     on behalf of Creditor    John Doe #1, 2, 4, 5, 6 cmanierre@rothsteinlaw.com,
               melopez@rothsteinlaw.com;psanchez@rothsteinlaw.com;nrivera@rothsteinlaw.com;dchalan@rothsteinlaw.
               com;ldelgado@rothsteinlaw.com;bjtrujillo@rothsteinlaw.com
              Carolyn M Nichols    on behalf of Creditor    John Doe #1, 2, 4, 5, 6 cmnichols@rothsteinlaw.com,
               melopez@rothsteinlaw.com;psanchez@rothsteinlaw.com;nrivera@rothsteinlaw.com;dchalan@rothsteinlaw.
               com;ldelgado@rothsteinlaw.com;bjtrujillo@rothsteinlaw.com
              Charles S Glidewell    on behalf of U.S. Trustee    United States Trustee
               charles.glidewell@usdoj.gov
              Chris W Pierce    on behalf of Debtor    Roman Catholic Church of the Archdiocese of Santa Fe
               cpierce@walkerlawpc.com, piercelawfirm@gmail.com;WalkerLawPC14@gmail.com;MWells@walkerlawpc.com
              Dennis A Banning    on behalf of Interested Party    Santa Maria de La Paz Parish
               nmfl@nmfinanciallaw.com,
               banninglaw@yahoo.com;dab@nmfinanciallaw.com;banningdr54167@notify.bestcase.com
              Don F Harris    on behalf of Interested Party    Santa Maria de La Paz Parish
               nmfl@nmfinanciallaw.com,
               briefwriter@comcast.net;donharrislawfirm@gmail.com;nmflcmecf@gmail.com;r54167@notify.bestcase.com
               ;dab@nmfinanciallaw.com
              Ford Elsaesser     on behalf of Debtor    Roman Catholic Church of the Archdiocese of Santa Fe
               ford@eaidaho.com
              James C Jacobsen    on behalf of Creditor    State of New Mexico, Workers Compensation
               Administration jjacobsen@nmag.gov, jotero@nmag.gov
              James I. Stang    on behalf of Creditor Committee    Official Committee of Unsecured Creditors
               jstang@pszjlaw.com
              Jonathan B. Alter    on behalf of Interested Party    St. Paul Fire & Marine Insurance Company
               jalter@travelers.com
              Juan L Flores    on behalf of Debtor   Roman Catholic Church of the Archdiocese of Santa Fe
               jflores@stelznerlaw.com, jgarcia@stelznerlaw.com
              Laura R Callanan    on behalf of Interested Party J. W. laura@curtislawfirm.org,
               lisa@curtislawfirm.org;amalia@curtislawfirm.org;filing@curtislawfirm.org
              Leonard K Martinez-Metzgar    on behalf of U.S. Trustee    United States Trustee
               leonard.martinez-metzgar@usdoj.gov

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District/off: 1084-1          User: jrbaca                Page 2 of 2                  Date Rcvd: Mar 19, 2019
                              Form ID: pdfor1             Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Leslie D. Maxwell    on behalf of Interested Party    Catholic Charities, Inc.
               lmaxwell@maxwelllawpc.com, 9786701420@filings.docketbird.com;aburnside@maxwelllawpc.com;
              Lisa K. Curtis    on behalf of Interested Party J. W. lisa@curtislawfirm.org,
               steven@curtislawfirm.org;pauline@curtislawfirm.org;filing@curtislawfirm.org
              Martha G Brown    on behalf of Interested Party    Sons of the Holy Family, Inc mgb@modrall.com,
               sandih@modrall.com
              Merit Bennett     on behalf of Creditor John Doe Victim administrator@thebennettlawgroup.com,
               mb@thebennettlawgroup.com;tk@thebennettlawgroup.com;ag@thebennettlawgroup.com;dv@thebennettlawgro
               up.com
              Merit Bennett     on behalf of Plaintiff John Doe administrator@thebennettlawgroup.com,
               mb@thebennettlawgroup.com;tk@thebennettlawgroup.com;ag@thebennettlawgroup.com;dv@thebennettlawgro
               up.com
              Paul M Fish    on behalf of Interested Party    Sons of the Holy Family, Inc pfish@modrall.com,
               nikkim@modrall.com;nikkim@ecf.courtdrive.com
              Paul M Linnenburger    on behalf of Creditor    John Doe #1, 2, 4, 5, 6
               plinnenburger@rothsteinlaw.com,
               melopez@rothsteinlaw.com;psanchez@rothsteinlaw.com;nrivera@rothsteinlaw.com;dchalan@rothsteinlaw.
               com;ldelgado@rothsteinlaw.com;bjtrujillo@rothsteinlaw.com
              Pierre Levy     on behalf of Creditor Christine Romero pierre@ofrielandlevy.com
              Robert M. Charles, Jr.    on behalf of Creditor    Parish Steering Committee of the Roman Catholic
               Church of the Archdiocese of Santa Fe RCharles@LRRC.com, BankruptcyNotices@LRRC.com
              Samuel I. Roybal    on behalf of Debtor   Roman Catholic Church of the Archdiocese of Santa Fe
               sroybal@walkerlawpc.com, WalkerLawPC14@gmail.com,mlara@walkerlawpc.com
              Stephanie L Schaeffer    on behalf of Debtor    Roman Catholic Church of the Archdiocese of Santa
               Fe sschaeffer@walkerlawpc.com,
               awynn@walkerlawpc.com;WalkerLawPC14@gmail.com;mlara@walkerlawpc.com
              Thomas D Walker    on behalf of Debtor   Roman Catholic Church of the Archdiocese of Santa Fe
               twalker@walkerlawpc.com,
               mlara@walkerlawpc.com;sroybal@walkerlawpc.com;WalkerLawPC14@gmail.com;spatteson@walkerlawpc.com;m
               devine@walkerlawpc.com
              United States Trustee    ustpregion20.aq.ecf@usdoj.gov
                                                                                              TOTAL: 32




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                                                                    IT IS ORDERED
                                                                    Date Entered on Docket: March 19, 2019




                                                                    ________________________________
                                                                    The Honorable David T. Thuma
                                                                    United States Bankruptcy Judge
______________________________________________________________________
                                UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF NEW MEXICO


   In re:                                                      Chapter 11

   ROMAN CATHOLIC CHURCH OF THE                                Case No. 18-13027-t11
   ARCHDIOCESE OF SANTA FE, a New
   Mexico corporation sole,

                              Debtor.

             AMENDED1 ORDER FIXING TIME FOR FILING PROOFS OF CLAIMS;
                APPROVING PROOF OF CLAIM FORMS; PROVIDING FOR
              CONFIDENTIALITY PROTOCOLS; AND APPROVING FORM AND
                               MANNER OF NOTICE

              Before the Court is the motion of the Roman Catholic Church of the Archdiocese of Santa

       Fe, Debtor-In-Possession ("Debtor"), entitled "Motion for an Order Establishing Deadlines for

       Filing Proofs of Claims; Approving Claim Forms; for Sealing of Schedules and Pleadings and

       for Confidentiality Protocols; and Approving Form and Manner of Notice Thereof; and Notice


   1
    On March 8, 2019, the Court entered Order Fixing Time for Filing Proofs of Claims; Approving Proof of Claim
   Forms; Providing for Confidentiality Protocols; and Approving Form and Manner of Notice (Docket No. 116) (the
   ³2ULJLQDO2UGHU´ 7KH2ULJLQDO2UGHU is being amended to correct typos related to paragraph numbers. There are no
   substantive changes. All deadlines set forth in this order relate back to entry of the Original Order.


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   of Motion" (Doc. No. 83) (the "Motion"). Capitalized terms used but not defined herein shall have

   the meaning and definitions ascribed to them in the Motion. It appears that the Motion was brought

   in compliance with the Federal Rules of Bankruptcy Procedure ("Bankruptcy Rules")and New

   Mexico Local Bankruptcy Rules ("LBR"); that the Court has jurisdiction over this matter pursuant

   to 28 U.S.C. § 1334 and § 157, and this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

   that notice of the Motion is appropriate, and no other or further notice is required. On February 21,

   ³-RKQ'RH´ILOHGDQREMHFWLRQUHTXHVWLQJWKH&RXUWVKRUWHQWKHGHDGOLQHfor parties to file

   proofs of claim (doc. 103) WKH³2EMHFWLRQ´ . No other objections were filed to the Motion. The

   relief requested in the Motion is in the best interest of the Debtor's estate, its creditors and other

   parties-in-interest, and necessary and appropriate for establishing procedures; and that sufficient

   cause exists.

            Therefore, IT IS HEREBY ORDERED that:

            1. The Objection is overruled.

            2. The Motion is granted as set forth in the Order.

    FORMS

            3. The Sexual Abuse Proof of Claim Form, the General Claims Bar Date Notice, the

    Permitted Party Confidentiality Agreement, the Sexual Abuse Claims Bar Date Notice, and the

    Publication Notice, in the forms annexed hereto as Exhibits "A," "B," "C," "D," and "E"

    respectively, are approved. Court approval of the Sexual Abuse Proof of Claim Form is without

    prejudice to the requests of any party in interest to request additional information from sexual

    abuse claimants regarding their filed claims under applicable rules or as may be further ordered

    by the Court.




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    NOTICE

           4. The form and manner of notice as approved herein fulfill the notice requirements of

    the Bankruptcy Rules and the NM LBRs, and notice of the bar dates in the form and manner as

    approved herein is fair and reasonable and will provide sufficient and due notice to all creditors

    of their rights and obligations in connection with claims they may assert against the Debtor's

    estate in this Chapter 11 case. Accordingly, the Debtor is authorized and directed to serve and/or

    publish the notices in the manner described herein.

    BAR DATES

           5. Except as provided in paragraph 6 of this Order, any entity holding a pre-petition claim

    against the Debtor must file a proof of claim in accordance with the procedures described herein

    on or before June 17, 2019 at 5:00 p.m. (Prevailing Mountain Time) (the "General Claims

    Bar Date"). The General Claims Bar Date applies to all persons and entities (including

    governmental units), other than Sexual Abuse Claimants addressed in paragraph 5, that assert

    claims, as defined in § 101(5) of the Bankruptcy Code, against the Debtor (whether secured,

    unsecured priority or unsecured non-priority) that arose prior to FRPPHQFHPHQWRIWKH'HEWRU¶V

    chapter 11 case. The General Claims Bar Date shall be identified in the General Claims Bar Date

    Notice and the Publication Notice.

           6. Except as provided in paragraph 6 of this Order, any entity holding a prepetition claim

    arising from sexual abuse for which the individual believes the Debtor may be liable, must file a

    proof of claim in accordance with the procedures described herein on or before June 17, 2019

    at 5:00 p.m. (Prevailing Mountain Time) (the "Sexual Abuse Claims Bar Date"). The Sexual

    Abuse Claims Bar Date shall be identified in the Sexual Abuse Claims Bar Date Notice and the

    Publication Notice. A Sexual Abuse Claim is:



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          Any Claim (as defined in section 101(5) of the Bankruptcy Code) against the Archdiocese
          resulting or arising in whole or in part, directly or indirectly from any actual or alleged
          sexual conduct or misconduct, sexual abuse or molestation, indecent assault and/or battery,
          rape, pedophilia, ephebophilia, or sexually-related physical, psychological, or emotional
          harm, or contacts, or interactions of a sexual nature between a child and an adult, or a
          nonconsenting adult and another adult, sexual assault, sexual battery, sexual psychological
          or emotional abuse, humiliation, or intimidation, or any other sexual misconduct, and
          seeking monetary damages or any other relief, under any theory of liability, including
          vicarious liability, any negligence-based theory, contribution, indemnity, or any other
          theory based on any acts or failures to act by the Archdiocese or any other person or entity
          for whose acts or failures to act the Archdiocese is or was allegedly responsible.


    WHO MUST FILE PROOFS OF CLAIM

           7. The following entities, whose claims otherwise would be subject to the General Claims

    Bar Date or the Sex Abuse Claims Bar Date, shall not be required to file proofs of claim in this

    Chapter 11 case:

                   a.      Any person or entity that has already properly filed a proof of claim against
                           the Debtor with the Clerk of the Court for the United States Bankruptcy
                           Court for the District of New Mexico (the "Court");

                   b.      Any person or entity: (i) whose claim is listed in the 'HEWRU¶V filed schedules
                           or any amendments thereto; and (ii) whose claim is not described therein as
                           "disputed," "contingent," or "unliquidated;" and (iii) who does not dispute
                           the amount or classification of its claim as set forth in the schedules;

                   c.      Any person or entity that asserts an administrative expense claim against the
                           Debtor pursuant to § 503(b) and § 507(a)(2) of the Bankruptcy Code;

                   d.      Any person or entity whose claim against the Debtor has been allowed by an
                           Order of the Court entered on or before the applicable bar date; and

                   e.      Any person or entity whose claim has been paid in full.

           8. By virtue of the foregoing, the following entities must file a proof of claim on or

    before the applicable bar date:

                   a.      Any person or entity whose prepetition claim against the Debtor is not
                           listed in the Debtor's schedules or whose prepetition claim is listed in the
                           Schedules but is listed as disputed, contingent or unliquidated, and that
                           desires to participate in this case or share in any distribution in this case;


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                   b.      Any person or entity that believes that its prepetition claim is improperly
                           classified in the schedules or is listed in an incorrect amount and that desires
                           to have its claim allowed in a classification or amount other than that
                           identified in the schedules; and

                   c.      Any Sexual Abuse Survivor who believes that he or she has a claim against
                           the Debtor, including but not limited to, Sexual Abuse Claimants who
                           previously filed lawsuits against the Debtor, and Sexual Abuse Claimants
                           who never filed a lawsuit, entered into a settlement or reported their abuse.

           9. Any entity that is required to file a proof of claim in this Chapter 11 case pursuant

    to the Bankruptcy Code, the Bankruptcy Rules, or this Order with respect to a particular

    claim against the Debtor, but that fails to do so by the applicable bar date, may not be

    treated as a creditor with respect to such claim for the purposes of voting on and

    distribution under any Chapter 11 plan proposed and/or confirmed in this case.

           10. The Debtor shall retain the right to: (i) dispute, or assert offsets or defenses, including

    statute of limitations, against any filed claim or any claim listed or reflected in the schedules as

    to nature, amount, liability, classification or otherwise; (ii) subsequently designate any claim as

    disputed, contingent or unliquidated; and (iii) request information from sexual abuse claimants

    regarding their filed claims under applicable rules or as may be further ordered by the Court.

    Nothing herein shall affect any party's rights regarding discovery or informal information

    requests.

    REQUIREMENTS FOR PROOF OF CLAIM FORMS

           11. Each general creditor proof of claim form must: (a) be written in English; (b) be

    denominated in lawful currency of the United States as of the petition date; (c) have attached

    copies of any writings upon which the claim is based, including evidence that a security interest

    has been perfected for any secured claims; and (d) be originally executed and delivered to the




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    Clerk of the United States Bankruptcy Court for the District of New Mexico at the following

    address: Office of the Clerk of Court U.S. Bankruptcy Court, District of New Mexico, Pete V.

    Domenici U.S. Courthouse, 333 Lomas Blvd. NW, Suite 360 Albuquerque, NM 87102. All

    general creditor proof of claim forms must be received by the Bankruptcy Court Clerk by the

    General Claims Bar Date (proofs of claim sent by facsimile or e-mail will not be accepted).

           12. Each Sexual Abuse Proof of Claim Form filed must: (a) be written in English or

   Spanish; and (b) be originally executed and delivered, along with one (1) copy, to the Clerk of the

   United States Bankruptcy Court for the District of New Mexico at the following address: Office

   of the Clerk of Court-ATTN SEALED DOCUMENTS, U.S. Bankruptcy Court, District of New

   Mexico, Pete V. Domenici U.S. Courthouse, 333 Lomas Blvd. NW, Suite 360 Albuquerque, NM

   87102. All Sexual Abuse Proof of Claim Forms must be received by the Sexual Abuse Claims Bar

   Date (proofs of claim sent by facsimile or e-mail will not be accepted). The Clerk of the Court

   will provide a copy of the Sexual Abuse Proofs of Claim to the Debtor on a weekly basis. The

   Debtor shall provide copies (including electronic copies) of all Sexual Abuse Proofs of Claim to

   WKH&RPPLWWHHZLWKLQWZREXVLQHVVGD\VRIWKH'HEWRU¶VUHFHLSWWKHUHRI

    CONFIDENTIALITY PROTOCOLS

           13. Sexual Abuse Proof of Claim Forms shall be submitted pursuant to the following

   Confidentiality Protocol:

                   a.      Sexual Abuse Proof of Claim Forms submitted by Sexual Abuse
                           Claimants shall be sealed and will not be available to the general public
                           unless a Sexual Abuse Claimant affirmatively indicates his or her desire
                           that the Sexual Abuse Proof of Claim Form be made public in Part 1 of
                           the Sexual Abuse Proof of Claim Form. The Confidentiality Protocol is
                           for the benefit of the Sexual Abuse Claimants. Accordingly, Sexual
                           Abuse Claimants may elect to make any of the information contained in
                           a Sexual Abuse Proof of Claim Form public, even if they elected to file
                           the Proof of Claim confidentially.



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                     b.       Sexual Abuse Proof of Claim Forms submitted by a Sexual Abuse
                              Claimant shall be held and treated as confidential by the Debtor and
                              'HEWRU¶VFRXQVHODQGFRSLHVWKHUHRIPD\EHSURYLGHGWRWKHSDUWLHVOLVWHG
                              EHORZ WKH³Permitted Parties´ DQGWRVXFKRWKHUSHUVRQVWKDWPD\EH
                              granted access to the Sexual Abuse Proofs of Claim by order of the Court.
                              No party (including a Permitted Party) may obtain copies of Sexual Abuse
                              Proofs of Claim unless such party executes a confidentiality agreement
                              substantially in the form attached hereto as Exhibit C (the
                              ³Confidentiality Agreement´ . All parties with access to the Sexual
                              Abuse Proof of Claim Forms shall keep the information provided in a
                              Sexual Abuse Proof of Claim Form confidential (unless the Sexual Abuse
                              Claimant elects otherwise in Part 1 of the Sexual Abuse Proof of Claim
                              Form).2 Executed Confidentiality Agreements shall be provided to
                              counsel to the Debtor and counsel to the Committee. Permitted Parties
                              shall not disclose the contents of any Sexual Abuse Claim Form unless
                              expressly authorized pursuant to Part 1 of the Sexual Abuse Claim Form,
                              even if the Sexual Abuse disclosed some or all of the information contained
                              in the form. Counsel to the Debtor and counsel to the Committee shall
                              only be required to execute a single Confidentiality Agreement per law
                              firm.
                              i.       Any recipient that is a party to a Confidentiality Agreement may
                                       use the information provided in any and all Sexual Abuse Proof of
                                       Claims Forms only in connection with the Case, any related
                                       adversary proceedings or contested matters in the Case, any related
                                       insurance or reinsurance coverage demands, claims, disputes, or
                                       litigation, any settlement negotiation or mediation regarding all of
                                       the foregoing, and as otherwise required by federal or state laws or
                                       regulations ("Permitted Use(s)").
                              ii.      In the event a Permitted Use requires Recipient to disclose to a
                                       court information provided in any and all Sexual Abuse Proof of
                                       Claims Forms, Recipient will file the Sexual Abuse Proof of Claim
                                       Forms under seal or in accordance with any subsequent order
                                       entered by the Bankruptcy Court in the Case regarding such
                                       disclosure after request by Recipient and/or other parties in interest
                                       in the Case.
                              iii.     Nothing herein or in the Confidentiality Agreements imposes any
                                       restrictions on the use or disclosure of any information that is
                                       obtained from a source other than the Sexual Abuse Proof of Claim
                                       Forms, or precludes the recipient from petitioning the Court
                                       regarding modification of this Order or Confidentiality
                                       Agreements as to disclosure of the information contained in the
                                       Sexual Abuse Proof of Claim Forms.

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    Except for counsel to the Debtor and counsel to the Committee and unless otherwise specified herein, access to the
   Sexual Abuse Proof of Claim Forms extends only to the natural person who executes the Confidentiality Agreement.
   A separate Confidentiality Agreement must be signed by each natural person who seeks access to the records on
   behalf of a Permitted Party.


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                       iv.     Nothing herein shall affect any party's rights regarding discovery
                               or informal information requests

                c.     7KH3HUPLWWHG3DUWLHV WKH³Permitted Party List´ LQFOXGH

                       i.      Counsel to the Debtor retained pursuant to an order of the
                               Bankruptcy Court, including partners, counsel, associates, and
                               employees of such counsel;
                       ii.     The Archbishop of the Archdiocese of Santa Fe (the
                               ³Archbishop´ DQGHPSOR\HHVRIWKH'HEWRUZKRDUHQHFHVVDU\WR
                               assist the Archbishop in reviewing and analyzing the Sexual Abuse
                               Claims;
                       iii.    Counsel for the Committee, including partners, counsel, associates,
                               and employees of such counsel;
                       iv.     Any insurance company that provided insurance that may cover the
                               claims described in the Sexual Abuse Proof of Claim Forms upon
                               consent of the Debtor and the Committee;
                       v.      Any unknown claims representative appointed pursuant to an order
                               of the Court in this case;
                       vi.     Any mediator appointed pursuant to an order of this Court to
                               mediate the terms of a settlement or Plan of reorganization in this
                               case;
                       vii.    Any special arbitrator/claims reviewer appointed to review and
                               resolve the claims of Sexual Abuse Claimants;
                       viii.   Any trustee, or functional equivalent thereof, appointed to
                               administer payments to Sexual Abuse Claimants including
                               pursuant to a plan of reorganization or a proposed plan of
                               reorganization;
                       ix.     Authorized representatives of a department of corrections if the
                               Sexual Abuse Claimant is incarcerated but only to the extent
                               disclosure is authorized or required under applicable non-
                               bankruptcy law;
                       x.      Members of the Committee and their personal counsel (after the
                               Sexual Abuse Proof of Claim Form has been redacted to remove
                               WKH 6H[XDO $EXVH &ODLPDQW¶V QDPH DGGUHVV DQG DQ\ RWKHU
                               information identified in Part 2(A) of the Sexual Abuse Proof of
                               Claim Form and the signature block);
                       xi.     Any Person with the express written consent of the Debtor and the
                               &RPPLWWHH XSRQ  EXVLQHVV GD\V¶ QRWLFH WR 6H[XDO $EXVH
                               Claimants;
                       xii.    Insurance companies or their successors, including any authorized
                               claim administrators of such insurance companies, that issued or
                               allegedly issued policies to the Debtor and their reinsurers and
                               attorneys; and
                       xiii.   Such other persons as the Court determines should have the
                               information in order to evaluate Sexual Abuse Claims; provided,



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                                     however, that any such determination shall be made on no less than
                                     GD\V¶QRWLFHWR6H[XDO$EXVH&ODLPDQWV
     TIMING AND FORM OF NOTICE

             14. Within five (5) days of the entry of this Order, the Debtor shall serve by United

     States mail, first-class postage prepaid, the General Claims Bar Date Notice on (a) the Office

     of the United States Trustee for the District of New Mexico; (b) counsel to the Committee; (c)

     counsel for all person or entities who have filed a notice of appearance in the Debtor's case;

     (d) all persons or entities listed in Debtor's schedules; (e) all parties to executory contracts and

     unexpired leases of the Debtor; (f) all persons or entities that have previously filed proofs of

     claim in this case; (g) any other persons or entities or their counsel, including governmental

     units, known to the Debtor as persons or entities who may have claims against the estate; and

     (h) such additional persons and entities as deemed appropriate by the Debtor.

             15. Within five (5) days of entry of this Order, the Debtor shall also serve by United

     States mail, first-class postage prepaid, the Sexual Abuse Claims Bar Date Notice on the parties

     identified in paragraph 14(a), (b), (c), (d) and (h), and on known Sexual Abuse Claimants who:

                     a.      filed, or threatened to file, lawsuits against the Debtor that allege they
                             were abused;

                     b.      contacted the Debtor to report that they were claimants of abuse, whether
                             RU QRW WKDW LQGLYLGXDO¶V FODLP ZDV FRQVLGHUHG WR EH VXEVWDQWLDWHG DQG
                             whether or not the report was written or verbal; or

                     c.      are known to the Debtor to be Sexual Abuse Claimants for any other
                             reasons whatsoever.

            16. The Debtor shall also provide notice of the Sexual Abuse Claims Bar Date and the

    General Claims Bar Date by causing a copy of the Publication Notice to be published as follows:

                     a.      Publication twice (in English) in each of the following publications, with
                             the first publication to occur within two weeks of the service required
                             under paragraphs 14 and 15 and the second publication to occur no later
                             than thirty


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                         (30) days prior to the expiration of the bar dates, unless otherwise noted
                         below:

                        Local U.S. Publications and Entities
                        Alamogordo Daily News
                        Albuquerque Journal
                        Albuquerque Journal North
                        Arizona Republic
                        Cibola Citizen
                        Denver Post
                        El Paso Times
                        Farmington Times
                        Gallup Independent
                        Las Cruces Sun News
                        Las Cruces Sun Times
                        Las Vegas Optic
                        Navajo Times
                        Rio Grande Sun (Espanola)
                        Rio Grande Sun
                        Roswell Daily Record
                        Sangre de Cristo Chronicle
                        Santa Fe New Mexican
                        Santa Fe Reporter
                        Taos News
                        Weekly Alibi

                        People of God (shall be published on April 13, 2019 and once no later than
                        thirty (30) days prior to the expiration of the General and Sexual Abuse Bar
                        Date)

                        USA Today (shall be published one time only no later than thirty (30) days
                        prior to the expiration of the General and Sexual Abuse Bar Date)

                  b.     Debtor will also send a copy of the Sexual Abuse Claims Bar Date Notice
                         to the publications listed in paragraph 16(a) and to the Associated Press
                         of Albuquerque.

           17. The Debtor shall provide further notice of the Sexual Abuse Claims Bar Date

    by taking the following measures:

                  a.     Upon entry of the Order, the Debtor will post the Sexual Abuse Bar Date
                         Notice Package on the following website: https://archdiosf.org/ and will
                         request the Parishes post on the website of each Parish that maintains a
                         website.



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                   b.     The Debtor will maintain a telephone number which may be used by
                          Sexual Abuse Claimants to ask questions or obtain copies of the Sexual
                          Abuse Bar Date Notice Package or parts thereof.
                   c.     Within one (1) week of the service of Sexual Abuse Bar Date Notice
                          Package, the Debtor will mail a copy of the Sexual Abuse Bar Date
                          Notice to the following:
                          1.      the attorney general for New Mexico;
                          2.      the district attorney for each county in New Mexico;
                          3.      each Parish and mission that is a part of the Archdiocese;
                          4.      the public health agency, if any, for each county where the
                                  Archdiocese has a parish or mission;
                          5.   a substance abuse agency, if any, in each county where the
                          Archdiocese has a parish or mission, including without limitation the
                          Agora Crisis Center in Albuquerque;
                          6.   the police/sheriff's department for each locality where the
                          Archdiocese has a parish or mission;
                          7.    the hospital(s) for each county where the Archdiocese has a parish
                          or mission;
                          8.   each Governor's3UHVLGHQW¶V Office of each of the Pueblos, Tribes
                          and Nations located in New Mexico; and
                          9.      any Diocese located within the State of New Mexico with a request
                          that it be published on its website.


                   d.     The Debtor will simultaneously request that each recipient identified in
                          paragraph 17(c) publicly post such notice until the expiration of the
                          Sexual Abuse Claims Bar Date.

                   e.     Each request described in paragraph 17(c) shall be on the Debtor's
                          letterhead, personally signed by the Archbishop. The request shall
                          include a statement at the bottom for the recipient to indicate whether it
                          will comply with the request and the request shall include a stamped self-
                          addressed return envelope.

           18. The Debtor is authorized and empowered to take all actions necessary to

    implement the relief granted in this Order.

           19. This Court retains jurisdiction to hear and determine all matters arising from

    or related to the implementation, interpretation and/or enforcement of this Order.




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                                  ### END OF ORDER ###


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